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                           UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

Teri Albright, Milton D Shaw, Max Fowler,             §
Paula Fowler, Trinity Edwards Springs                 §
Protection Association                                §     NO: AU:20-CV-00651-RP
                                                      §
vs.                                                   §

Permian Highway Pipeline LLC, Kinder Morgan
Texas Pipeline LLC

                                                  ORDER


        The Court sets and directs the parties, or counsel acting on their behalf, to appear by phone
for an initial pretrial conference on September 28, 2020 at 09:20 AM . Counsel for Plaintiff shall
be responsible for coordinating the call and providing dial-in information at least 24 hours prior to
the hearing to opposing counsel and to the Courtroom Deputy at julie_golden@txwd.uscourts.gov.
The parties should be prepared to discuss potential trial settings as the Court intends to set a trial
date in this action at the initial pretrial conference.


        Until the Court enters a scheduling order in this case and absent additional instruction from
the Court, the parties shall abide by all agreed deadlines set out in their proposed scheduling order




                 SIGNED on 17th day of September, 2020.



                                                          ______________________________
                                                          ROBERT PITMAN
                                                          UNITED STATES DISTRICT JUDGE
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